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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 Davis et al.,                                             )
                                                           )
                                               Plaintiff,  ) Case No.: 1:23-cv-10799
 v.                                                        )
                                                           ) Dist. Judge Andrea R. Wood
 The Entities listed on Exhibit 1,                         )
                                                           ) Mag. Judge Gabriel A. Fuentes
                                               Defendants. )

                                   Motion to Set Briefing Schedule

NOW COME Snappok (22), Snappok (92), foltrend (53), Hugotok (64), and giftnii (57) (hereinafter

“Defendants”), by and through their undersigned counsel, and hereby respectfully request that this

Court set a briefing schedule on Plaintiff’s Motion for Entry of Preliminary Injunction, and in

support state as follows:

1. Plaintiff filed its Complaint on September 13, 2023, alleging that Defendants committed

      trademark infringement, copyright infringement, patent infringement, and related claims. [Dkt.

      1].

2. On September 22, 2023, Plaintiff filed an ex parte motion for entry of a temporary restraining

      order, which the Court ultimately granted on November 1, 2023. [Dkt. 9, 21].

3. On November 11, 2023, Plaintiff filed its Motion for Entry of a Preliminary Injunction. [Dkt.

      26].

4. The Davis Declaration remains sealed. [Dkt. 12].

5. Defendants recently obtained local counsel. Defendants need a short time to review and

      confirm the exact basis for Plaintiff’s claims against each of them in order to appreciably oppose

      Plaintiff’s motion for entry of a preliminary injunction. Defendants believe the issues relate to

      (i) whether their use of any imagery infringes material purportedly covered under Plaintiff’s U.S.




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   copyright registration(s); (ii) whether the products they sold bore sufficient non-functional

   aspects of Plaintiff’s design patent; (iii) whether they “used” of any source identifier purportedly

   owned by Plaintiff, (iv) whether the products they sold were in-fact covered under Plaintiff’s

   utility patent, and (v) whether they in-fact used Plaintiff Davis’ identifiable name or likeness.

   Meritorious arguments would apply to each of these questions.

6. Defendants need a short time to respond to Plaintiff’s motion.

WHEREFORE, Defendants respectfully request that:

A. The Jones Declaration and related sealed material [Dkts. 7, 8, 12, 14, 19] be unsealed; and

B. Defendants be allowed until December 8, 2023, to respond to Plaintiff’s Motion for Entry of

   Preliminary Injunction.

Dated: November 29, 2023

                                                                Respectfully Submitted,

                                                                /s/Adam E. Urbanczyk
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